         Case 1:18-cr-00377-APM Document 66 Filed 11/01/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               FOR DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 vs.                                                             CASE NO. 18-CR-377-APM

        EPHRAIM GARCIA
        Defendant



                                             ORDER

        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant Ephraim

Garcia’s conditions of pretrial release are modified to allow Mr. Garcia to relocate to Las Vegas,

Nevada pending disposition of this case and FURTHER ORDERED that supervision be

transferred to Las Vegas, Nevada upon Mr. Garcia’s relocation. Mr. Garcia’s sister, Herminia

Matheson shall be his 3rd Party Custodian. Ms. Matheson address

               .   All remaining conditions of release shall remain in full force


IT IS SO ORDERED.

                                                                         2021.11.01
                                                                         17:17:00
Date:
                                                                         -04'00'
                                                     Judge Mehta
